Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 1 of 47 PageID #: 1214
                                                                              Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 2 of 47 PageID #: 1215
                                                                              Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 3 of 47 PageID #: 1216
                                                                         Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 4 of 47 PageID #: 1217
                                                                              Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 5 of 47 PageID #: 1218
                                                                         Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 6 of 47 PageID #: 1219
                                                                         Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 7 of 47 PageID #: 1220
                                                                              Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 8 of 47 PageID #: 1221
                                                                              Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 9 of 47 PageID #: 1222
                                                                              Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 10 of 47 PageID #: 1223
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 11 of 47 PageID #: 1224
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 12 of 47 PageID #: 1225
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 13 of 47 PageID #: 1226
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 14 of 47 PageID #: 1227
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 15 of 47 PageID #: 1228
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 16 of 47 PageID #: 1229
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 17 of 47 PageID #: 1230
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 18 of 47 PageID #: 1231
                                                                         Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 19 of 47 PageID #: 1232
                                                                         Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 20 of 47 PageID #: 1233
                                                                         Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 21 of 47 PageID #: 1234
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 22 of 47 PageID #: 1235
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 23 of 47 PageID #: 1236
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 24 of 47 PageID #: 1237
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 25 of 47 PageID #: 1238
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 26 of 47 PageID #: 1239
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 27 of 47 PageID #: 1240
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 28 of 47 PageID #: 1241
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 29 of 47 PageID #: 1242
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 30 of 47 PageID #: 1243
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 31 of 47 PageID #: 1244
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 32 of 47 PageID #: 1245
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 33 of 47 PageID #: 1246
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 34 of 47 PageID #: 1247
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 35 of 47 PageID #: 1248
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 36 of 47 PageID #: 1249
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 37 of 47 PageID #: 1250
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 38 of 47 PageID #: 1251
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 39 of 47 PageID #: 1252
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 40 of 47 PageID #: 1253
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 41 of 47 PageID #: 1254
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 42 of 47 PageID #: 1255
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 43 of 47 PageID #: 1256
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 44 of 47 PageID #: 1257
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 45 of 47 PageID #: 1258
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 46 of 47 PageID #: 1259
                                                                               Attachment 35
Case 3:18-cv-01234 Document 1-36 Filed 11/02/18 Page 47 of 47 PageID #: 1260
                                                                         Attachment 35
